Case 2:07-cv-00347-ALA Document1-6 Filed 01/13/07. Page1of18

EXHIBIT J
To the’ department of corrections:

. “Lester of reconsideration ee

- Ih m sibmitting this letter 0 on the behalf of a ait

State of California Parole Boatd! .

Ppp penn se INNS ANS

or Bo BOARD OF PRISON TERMS pa

et SOE MaRS since o me,

. 1969, Tve always thought that Tames would somedey be a ata asset to” his community

aid also to his society Unfortunate he chose: to commit a severe crime, Which disabled

- him. ve been his brother-in-law for over 123.3 years. T feel as ihoigh Je ames. 3 has served his oo

sentence in the prison syste, but thee” 8, anothor sentence he will never finish serving

and that’ s ‘the thought that will always be with him fo the crime’ which he has.”
cominitted. r ve prayed for his peace of niind for several years. ‘The thought of losing - a
. fresdom, family, and fiends, will alvays be a part of the foal sentence, which he will

a always have to baie with His conscience and remorse is seeply and always wilh be

_ something that ouly 3 life of servin Bt his comminity and prayer, will: be the only thing that

“will consulate i ames, I feel James can love respect, and honor is fellow: man, and he ‘can

“be p pt oductive in, this life if § give a chanéz, While i in Prison James has furthered his:

education and help others farther their education also, He i isa avery caring ‘and loving:

, : “ana I only: pray that the parole board will give Js ames hope and te understanding that he.
will need after his board meeting. When: a man’ S hope i ig gone then the. man begins to die.
“I ames s has lost several love ones, iniding his dearest end (his mothe). We all believe
. that he. i one day be able to live his life free i in n the United States. His work is cut out.

“ for him, But he must: realize that your, fellow man is his brother and he. must love hima. He

also must realize Goa wouldn’ t put him through anything he ‘couldn’ t handle and to keep ,

his hope 1 in this uying time. If released I pray b he will comunit toa life of: dedication of
. TH wat ‘ . ‘ . 5 4 : : / ee

t va _

“ease 2: oF “cv: 00847. ALA - “ocumeni 1. 6. Fi i/0u/13107, Page a of 18 a .

- Nolunteer services, mentoring and helping young men in, his cotninunity, He his a. chance Lal

7 te ee afi a. lietime 6 bee one: af the Stéatés

“-teleused believe that it’s § God and his ablity to deal with thé heart of men, ‘We look -

iples oft ting We lite aot, Jamies if yo ee —

- forward t tos seein ng you soon, 1 Most of all we live y you u and whatever you do apposite this - ey

4 “oppor to be considered for parole. “Your aly ig always veaiting for: your: return, - .

Theie's sa alo of work t to be dene out here with young people

‘Bricks, and. A gela. i ..

The Ciiner Family

Case 2:07-cv-00347-ALA Document

01/13/07 Page 4 of 18

L . vv | pie
| California Natural Products
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www.californianatural.c

& BOX 1219 © LATHROP, CALIFORNIA 95330-1219 © (209) 858-2595 « FAY (209) 858-4076
Support Lefter
Not Confidential

September 24, 2004

L. Romero, C&PR
The Board of Prison Terms anne
1515 K Street, 6" Floor A an fe es

Sacramento, CA 95815

Attn: Commissioners of Board

Regarding: James Mackey E76532
| acai OF PRISON TES
Bigs

To Whom It May Concern:

I, Armando Gomez, Plant Supervisor at California Natural Products, am
aware that James Mackey will be eligible for parole in the year 2006.
Even though I do not know James personally, I have known James’ family
for the last seven years. They are very Supportive of James and look

forward to him coming home.

understand that James will need employment when he is released and J
would be very pleased to offer him a position as a machine operator at
California Natural Products. This position would be effective February
2006. The Starting pay rate for that position is approximately $11.00 per

hour,

Thank you for your consideration,

PO nap cl a Core.
Armando Gomez
Plant Supervisor of Special Ingredients

(209) 613-1593
Creative EFARCH MANAGEMENT, INC - ,
' 2029 eS cacaik oueaOBAT-A\ ALA. _ Document 1-6° Filed 01/13/07

TEL ZOE 93B8,0G00 FAx 209.938.0769

_ The Board of Prison Tems |:
15151 K Street, 6 floor

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- oe OU OA 1M
cH 2 Male ae

y 1 home
€ agreed to provide an employment interview 4o ‘or Jame 0 not promis
ployment will occur. I have offered this intervie} iat UREA PRISON Waa, i

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_ Vice President of Manufacturing — os
Creative Research Management oe

Case 2:07-cv-003473ALA Document 1-6 Filed 01 OLk 3 ,
ZS ne 43/07 Page 6 Ieee

mber 15, 2004 AD
ard of Prison Terms .

mumissioners of Board of Prison Terms etter ©

Mackey E76532 Not CO
a

to start by thanking, you for taking the time to read my letter
: Board to release my husband J ames Mackey.

James and I 4 n each other since 1977 when James was only twelve
years old. I saw grow. from a young man to a man I fell in love with
and married elevén O lationship grows stronger every year
and we look forward to ést. of our lives together. James has
brought the best qualiti we have become a very strong
Christian Family. James is my two children and they love him
very much. Our entire fami s the support he will need, both
financially and emotionally, w.

What James did changed everyone’s lif around him but not more than i
changed his life. It was devastating and unbelievable that such a wond
intelligent young man and someone who had the future i
actually commit the act he did. No one is sorrier for. hi
and would tum back the clock in a second if he coul
victim’s family often, as I know James does, and ho}
hearts to forgive James.

[ haven’t met one person that doesn’t think James is a wonderful p
has impacted his qualities on so many people. As our home is st
town we grew up in, so many people are looking forward to him coming
back into the community.

James was a college graduate when he entered the prison system and James
has continued his education while in prison through correspondence classes

- Case 2:07-cv-00347-ALA

Sincerely,

J et joWalther Mackey
6.13 Lupton Street
Manteca, CA 95337
9 825-5814

19 479-8594

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Case 2:07-cv-00347-ALA Document 1-6

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“Case 2:07-cv-00347-ALA Document 1-6 Filed 01/13/07 Page 9of18

_ Case 2:07-cv-00347-ALA _ Document.1-6

The Board of Prison Terms
1515 K Street .

6"Floor /
Sacramento, California 95815 .
_ Attention: Commissioners of Board of Prison Termis
REGARDING: JAMES MACKEY ETe5s2 ©
Dear Commissioners of the Board: .

I would like to first take the opportunity to thank you for allowing
myself the opportunity to speak on my dear brother’s behalf. Lam —
writing a heartfelt letter in the sincerest hopes that you will favorably

‘consider my request. Tam praying that in your final analysis that you
will keep biblical concepts in mind when you consider, my brother’s

-jmpending request of a release from his present incarceration. Tam <<

- praying that the time he has spent has been beneficial to him as a person

and that society has realized that the debt that was to be paid is

- considered rendered in full. Please weigh in your request the fact that... “ ok,

- the suffering that was placed upon the victims is now, in some small = 3"
_ measure repaid and lessons have been learned. I am reminded in every.
fashion in my daily life is the principal is what would Jesus do, he would:

- forgive and if the opportunity presented itself for one to redeem the =: ui
~ errors of his or her ways, what would Jesus do? I pray thata eas

" compassionate savior would show mercy, and judgment. Talso have ¢ +...
 guffered from the absence of my brother. Only time and love can heali

‘the broken wounds of both sides: I pray that you will find compassion ,
_ in your hearts when you consider my request.

. Gratefully Yours :

Kenneth Eskridge, 2 .

wen ae
lod - Sacramento: Stockton
P.O. BOX 1720%e *_LODI, CALIFORNIA 95241-1720 *. PHONE (209) 333-8044 o Hi i 428

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Vp

September 27, 2004 . . mp \ |
1515 K Street.
6" Floor ~ TN

Sacramento, CA 95815 a mo (
Attn: Commissioners of Board of Prison Terms ~

The Board of Prison Terms _ 4 \

Regarding: James Mackey, £76532

To Whom It May Concern: i i

I, Kevin Haslebacher, Plant Manager of Cottage Bakery, understand that James Mackey
. will be considered for parole at a hearing early in 2005.

_ As upon his release [understand James will be seeking employment. I ‘would like to offer -
-’ James the opportunity for a position at Cottage Bakery as a Warehouse Forklift Driver.

_ This position would be available effective February 15, 2006 when he is released and the.
rate of pay for this position is s approximately $14.00 per hour.

Ifyou have any questions, please feel free to contact me.

Sincerely,

Kevin Haslebacher
Plant Manager

_ Cottage Bakery
(209) 365-5446

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ol

_ Case 2:07-cv-00347- ‘ALA . Document 1-6 Filed 01/13/07 Paw

September 26, 2004 ”

The Board of Prison Terms
1515K Street =
6" Floor;
Sacramento, CA 95815

Regarding: James Mackey E76532
- Dear Board,

My name is Clyde Walther, father-in-law to James Mackey. I understand that James will be considered
for parole soon. I have known James since he was in high school and can remember watching him play
football for East Union High School. Hei is s truly ¢ a good person and he has strong family support.

James has been a model inniate, as I would not have expected anything less from him, Tam also
convinced. that James will not make a similar mistake when he is s retumed to society.

I expect James will regain total acceptance into our community. With his Bachelor Degree i in sports
inedicine from The University of Pacific he could become involved within local sports programs 2 and

easily be employed.
James will have our full support when he is : released and I Tam proud that he is a pat of our family.

Sincerely,
Lpeee sek ite

. Clyde Walther
15863 Cottage Ave.
“Manteca, CA 95336
* (209) 239-1841

cc: James Mackey
Hamilton Heinz
Case 2:07-cv-00847-ALA Document 1-6. Filed 01/13/07 pos 13 of 18

September27, 2004 Co NS

The Board of Prison Tetms a IN AN Y;
1515 K. Street» oe oo | cc fo?

6" Floor a eA (| V H
Sacramento, CA. 95815. | \

Arvin: Commissioners of Board of Prison Terms [Va [A ) | | 0 2?

Regarding James Mackey E76532 . . i\ Ov

My name is LaNae Mackey, n niece of James Mackey. Tam currently
seventeen years old and a senior in High School.

My Uncle James has been in my life since I was born. He is truly
an awesome person and I wouldn’t know what to do-without him in ‘my
life. Driving to Ione to visit him is such a wonderful feeling; being all i in
the same room! We have beén going, as long as I can remember.

“Uncle James has taught me so much. I would be lost without him.
He supports me, gives me advice and a an all around a great uncle.

ALT know i is that our lives would be much better if my Uncle
» James was not in prison, He would be able to help so many people and be -
with. our family every day. So please consider releasing my U Uncle Tames
when you have his parole hearing.

Sinceiely,

1112 N. Main St. #137
Manteca, CA 95336
(209) 479-0392
Case 2:07-cv-00347-ALA Document 1-6 _ Filed 01/13/07

Page 1 of 18
Sept. 27, 2004 .

The Board of Prison Terms
1515 K Street, 6" floor
‘ Sacramento, CA 95815
Attn: Commissioners of Board of Prison Terms

Re: My Uncle James Mackey E76532

If I had to list the most inspiring people in my life, one of the firs
_ definitely by my uncle, James Mackey. Excluding my dad, my uncle has
‘ been more a part of my life than any other member on his side of the
family (even though I have many of them living 1 in the same town for
years).

I have childhood memories of visiting my uncle, he was never less than
- positive and supportive of my goals. Today at my age of 23, things still
. have not changed. After relocating to Southern California I still receive
letters, ‘birthday: cards, and-short stories for him via mail.

When it comes. ‘to school, we definitely relate on some levels, Through his ~

actions and words my uncle encourages me to finish school. I admire him

_ for continuing his studies while at Mule Creek. He jis not the type of
individual who gives up because of an obstacle in his way. - .

Visiting him is.a very humbling occasion. I listen as he describes things’
he would like to experience outside of Mule Creek--- things I take for
granted. I’m sure many of us do. It reminds me of how wonderful my life
is and that although we all make mistakes (big and small) people deserve .
second chances, including my uncle.

Sincerely,

Chereese Mackey

7211 Cozycroft Ave #28
Winnetka, CA 91306
(818) 346-2756
4 oo.
Case 2: 07-¢v-00347- ALA Document 1-6 Filed 01/13/07 Page 15 of 18°
S S. Randall Willams, ON, 4). Sine.
587 Viaromy Qrenue ,
. Dilanteca. CE operetay

“September 24, 2004

, The Board of Prison Terms |
“1515-“R" § Street

6th Floor .

Hn eramanto. os TA i torn a GS8T5

Re: James Mackey, E-76532

To Whom at May Concern:

r am writing to. support the upcoming consideration of

_@arcle for James O. Mackey, Jaties has beett a close friend

of our family for many years. My late husband, Dr. S.
Randall Williams,.and I first saw him as a patient. and
performed surgery on his shoulder when he was a high school
studert in approximately 1982, and both of us theught so.
much of the young man that we invited him into our home,
-and we got to know him quite well. We attended his high
school graduation, and many other’ special events in his. -
life. Over the vears, my husband, and now jnst myself, have
watched his progress, and.I know if my husband were alive,
-he would join me in telling vou. that we truly feel that .
“James has paid his “debt to society”, not only by serving
his prison term, but jn his heart. He is extremely
remorseful for his crime, and I feel the state would be
* mach better served by having him on the outside, where he
can continue to atone for his mistake by being a good, -
- gitizen; continuing to éducate himself, and serving his
fellow man. He has recently been accepted into graduate
school and he is highly motivated to become a good citizen.
He has been a very good inmate, and I have visited himas
often as I could with my daughters and alone, and the
person I see when I visit, is one whd will spend every day
o£ the rest of his life, trying to make ue for what he has
done. Honestly, we need more young men like James, who have
paid the prise, and who truly. want to return to society to.
}

Case 2: O7- cv-00347- ALA Document 1-6. Filed 01/13/07 Page 16 of 18 —

do good, rather than seeing the advantages of being free to
da other crimes. .

. I wish: ‘that. I were able to offer James a position in our
‘orthopedic surgery practice, but unfortunately, my husband
passed away suddenly in 1996. I feel he would be an asset
wherever he has employment. If James cannot find a place to
stay when he is released, he is welcome to stay with me
until he finds alternative Iédging, and he is moOst-weicome ~
to use my address and phone number as needed while residing
here. I am so very proud of James and how he has been
completely rehabilitated, and I knew that if he had the
chance to turn back time and make a different choice and
have nothing to do with crime of any sort, he would. I am
very sure of this. I have worked with people for over 35
years and I consider myself. te be a very good judge of .

- character. Everyone has made mistakes, but some people make
deadly ones. However, the reason for incarcerating these
people is hopefully so that they can be rehabilitated and
return to society and be better people.’ They will endure.
the pain of what they have done forever, and they. will have
the stigma of being felons. And, in this case, I do feel
that James will be able to come back to society, with the
support of his wife and family and friends, and he will
contribute. so much more to this country by being free.
Please give him that chance. There are so many people
behind him that believe in him,

-I have kept the Eamily of the victim in my prayers since
_ this happened, and I will continue to do. $0. I know the ~
. pain of losing someone close to you so “suddétily, and while
that pain never goes away, it lessens over time. I went to
Yom Kippur services yesterday, ‘the Day of Atonement’ in
Judaism, and I prayed that the family. would find
forgiveness for James.

I would most ‘wholeheartedly recommend James to your board,
and it you have any turther questions tor me, please
contact me at my address below.

Sy truly yours, |.

Rebecca A Williams, OPA-C, CST
on 587 Viotory Avenue
\ Manteca CA 95336-4415
(209) §2357043
) : , RA

.Case 2:07-cv-00347-ALA . Document 1-6 Filed 01/13/07 Page 17 of 18 |
/RW

cc: File

Attorney Hints
James O. Mackey
4

Case 2:07-cv-00347-ALA Document 1-6 Filed 01/13/07 Pfge 18 of 18

9227-04 |

The Board of Prison Terms
1515 K Street
6" Floor

Sacramento, CA 95815
Attn: Commissioners of Board of Prison Terms

Dear Board:

Tam writing this letter as a former teacher and high, school football coach during James’
high school days and his friend since he graduated from high school.

I recéntly visited with James at Mule Creek State Prison: and in my opinion James shows
great contrition for his past and has made a tremendous effort to rebabilitate and grow as
a human being while i in the prison system.

I feel confident that James will be a contributing member sof society if given the
opportunity. Had I not retired recently and put my painters contractors license on

_ inactive status, | would have offered him a job myself. I will offer my recommendation
/ for his employment to any one who asks.

His debt has been paid, nearly half his life spent in prison, isn’t this the hope of our penal
system, that the people who exit are able to be reabsorbed into society and allowedto
thrive? It is certainly my hope for James and his family.’

Oe. 0 Bano

Jit C. - acre
' Former Head Football Coach retired |
From East Union High School
